                         IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

                          Civil Case Action No. 3:21-cv-319-MOC-DCK

 WES JOHNSON, and TAMEKIA
 BOTTOMS, individually and on behalf of all
 other similarly situated, The AAA Carolinas
 Savings & Investment Plan and The Auto
 Club Group Tax Deferred Savings Plan,
                                                       DEFENDANTS’ MOTION FOR
        Plaintiffs,                                 PARTIAL DISMISSAL OF PLAINTIFFS’
                                                         AMENDED COMPLAINT
 v.

 CAROLINA MOTOR CLUB, INC. d/b/a
 AAA Carolinas and THE AUTO CLUB
 GROUP, INC.,

        Defendants.

       NOW COME Defendants, Carolina Motor Club, Inc. d/b/a AAA Carolinas (“AAA

Carolinas” and The Auto Club Group, Inc. (“AGC”) (collectively, “Defendants”), by and through

their undersigned counsel, and pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure

and Local Rule 7.1, hereby move the Court for an Order dismissing Count 1 of Plaintiff’s Amended

Complaint for breach of fiduciary duty in its entirety; Count 3 for alleged prohibited transactions

in its entirety; and Count 4 for breach of fiduciary duties to the extent it alleges conduct occurring

prior to July 6, 2015.

       For reasons more fully explained in the Memorandum of Law in Support of Defendant’s

Motion to Partially Dismiss Plaintiffs’ Amended Complaint, Counts 1 and 3 of the Amended

Complaint are time barred and fail to state plausible claims to for relief, and Count 4 is partially

time barred.

       As such, Defendant respectfully requests that these claims be DISMISSED with prejudice.




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Date: November 2, 2021            Respectfully submitted,

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                                  COUNSEL FOR DEFENDANTS




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                       Civil Case Action No. 3:21-cv-319-MOC-DCK

 WES JOHNSON, and TAMEKIA
 BOTTOMS, individually and on behalf of all
 other similarly situated, The AAA Carolinas
 Savings & Investment Plan and The Auto
 Club Group Tax Deferred Savings Plan,
                                                       CERTIFICATE OF SERVICE
        Plaintiffs,

 v.

 CAROLINA MOTOR CLUB, INC. d/b/a
 AAA Carolinas and THE AUTO CLUB
 GROUP, INC.,

        Defendants.

        The undersigned certifies that on November 2, 2021, the foregoing DEFENDANTS’
MOTION FOR PARTIAL DISMISSAL OF PLAINTIFFS’ AMENDED COMPLAINT was
electronically filed with the Clerk of the Court, using the Court’s CM/ECF electronic service
system, which will send notification of such filing as follows:

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